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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         PANAMA CITY DIVISION

UNITED STATES OF AMERICA

vs.                                             Case No. 5:19cr77-TKW/MJF-1

DUANE EDWARD CRAWSON
_________________________________________________________________

                      REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY

         The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Counts 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11,

12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34,

35, 36, 37, and 38 of the Indictment. After cautioning and examining the Defendant

under oath concerning each of the subjects mentioned in Rule 11, I determined that

the guilty plea was knowing and voluntary, and that the offenses charged are

supported by an independent basis in fact containing each of the essential elements of

such offenses. I therefore recommend that the plea of guilty be accepted and that the

Defendant be adjudicated guilty and have sentence imposed accordingly.

Dated:         February 27, 2020

                                   /s/ Michael J. Frank
                                   MICHAEL J. FRANK
                                   UNITED STATES MAGISTRATE JUDGE
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                                       NOTICE

       Objections to these proposed findings and recommendations must be filed within
twenty four (24) hours after being served a copy thereof. Any different deadline that
may appear on the electronic docket is for the court’s internal use only, and does not
control. A copy of objections shall be served upon all other parties. If a party fails to
object to the magistrate judge's findings or recommendations as to any particular claim
or issue contained in a report and recommendation, that party waives the right to
challenge on appeal the district court's order based on the unobjected-to factual and
legal conclusions. See 11th Cir. Rule 3-1; 28 U.S.C. § 636.




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